Case 1:25-cr-00047-JRR Document8 _ Filed 03/06/25 Pagelofi1

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IN THE UNITED STATES DISTRICT COURT RECEIVED
FOR THE DISTRICT OF MARYLAND AoA @anne
MAR 0 § 70? J

AT BALTIMORE

UNITED STATES OF AMERICA “OSTAGT OR MASA
* my DEPUTY
VS. Case No. 25-CR-47-JRR
x
JORGE ECHEVERRI
*
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ORDER OF DETENTION BY AGREEMENT

A hearing, having been held on this date, at which the defendant was represented by

Mo ok 1e | ogy Geo { AF PY ) , and the Government was represented by
“—

— .
Assistant United States Attorney Vee \, Sun 2 Xo py , itis

ORDERED, this _6'"_ day of _ March 2025_, that the above-named defendant be,

and the same hereby is, DETAINED by agreement of the parties without prejudice to either side
requesting a prompt hearing to set appropriate conditions of release or otherwise address the

detention of the defendant.

(ferQ__.

Erin Aslan
United States Magistrate Judge

U.S. District Court (4/2000) Criminal Magistrate Forms: Detention by Agreement
